Dear Secretary Carnahan:
This office received your letter of February 14, 2008, submitting a proposed summary statement prepared under Section 116.334, RSMo, for the petition submitted by Henry Robertson (version 3) on January 18, 2008. The proposed summary statement is as follows:
Shall Missouri law be amended to require investor-owned electric utilities, cooperative utilities, and certain municipal utilities to generate or purchase electricity from renewable energy sources such as solar, wind, biomass and hydropower with the renewable energy sources equaling at least 2% of retail sales by 2011 increasing incrementally to at least 15% by 2021, including at least 2% from solar energy; and restricting to no more than 1% any rate increase to consumers for this renewable energy?
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
Very truly yours,
JEREMIAH W. (JAY) NIXON
Attorney General